                                         Case 17-00474-JMC-7A   Doc 28 FiledFORM 1
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                                                                                                                                                   2 No:        1
                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                         ASSET CASES

Case No.:                        17-00474                                                                                  Trustee Name:                        Richard E. Boston
Case Name:                       BAILEY, DEBORAH ANN                                                                       Date Filed (f) or Converted (c):     01/31/2017 (f)
For the Period Ending:           03/31/2019                                                                                §341(a) Meeting Date:                03/01/2017
                                                                                                                           Claims Bar Date:                     08/07/2017
                                    1                            2                       3                           4                        5                                     6

                       Asset Description                     Petition/          Estimated Net Value               Property              Sales/Funds            Asset Fully Administered (FA)/
                        (Scheduled and                     Unscheduled         (Value Determined by               Abandoned             Received by           Gross Value of Remaining Assets
                   Unscheduled (u) Property)                  Value                   Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                              Less Liens, Exemptions,
                                                                                 and Other Costs)

Ref. #
1        Single-family home 404 South Foote Street              $45,000.00                          $0.00            OA                            $0.00                                        FA
         Cambridge City, IN - 47327-0000 Wayne
         County Assessed for about $51,300,
         however, while applying for refinance about
         a year ago US Bank told Debtor that
         Property was not worh enough to be able to
         refinance. Property has significant deferred
         maintenance.
2        1999 Mercury Tracer Mileage: 190,000                     $500.00                           $0.00            OA                            $0.00                                        FA
         Vehicle is in junk condition, not operable.
3        Usual household goods and furnishing for a              $1,000.00                          $0.00            OA                            $0.00                                        FA
         3 bedroom home.
4        Used clothing                                               $25.00                         $0.00            OA                            $0.00                                        FA
5        Two middle aged yappy mutts that would                       $0.04                         $0.00            OA                            $0.00                                        FA
         be impossible to sell.
6        Cash on Hand                                                $16.00                         $0.00            OA                            $0.00                                        FA
7        Checking Checking account at US Bank                        $52.20                         $0.00            OA                            $0.00                                        FA
8        IRA IRA at Edward Jones                                $20,000.00                          $0.00            OA                            $0.00                                        FA
9        401(k) 401(k) from Osborne International                $6,500.00                          $0.00            OA                            $0.00                                        FA
10       Debtor received federal tax refunds of                       $0.00                         $0.00            OA                            $0.00                                        FA
         approximately $1,200.00 for 2015. However,
         Debtor did not work the full year 2016 and
         does not expect tax refund for 2016 to be as
         much as 2015. Federal
11       Debtor owed state taxes for 2015 and                         $0.00                         $0.00            OA                            $0.00                                        FA
         expects 2016 to be the same. State
12       Debtor has a medical malpractice claim and                   $0.00                   $10,000.00                                           $0.00                                $10,000.00
         has engaged attorney Fredrick R. Hovde in
         Indianapolis (317) 660-2941 to pursue
         damage claim
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                                                                                                                                                                                       2 No:       2
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES

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Case Name:                    BAILEY, DEBORAH ANN                                                                                                            Date Filed (f) or Converted (c):      01/31/2017 (f)
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                     Asset Description                                          Petition/                   Estimated Net Value                   Property                  Sales/Funds           Asset Fully Administered (FA)/
                      (Scheduled and                                          Unscheduled                  (Value Determined by                   Abandoned                 Received by          Gross Value of Remaining Assets
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                                                                                                          Less Liens, Exemptions,
                                                                                                             and Other Costs)


TOTALS (Excluding unknown value)                                                                                                                                                                       Gross Value of Remaining Assets
                                                                                  $73,093.24                                $10,000.00                                                  $0.00                              $10,000.00



Major Activities affecting case closing:
 03/13/2019    filed motion to c/s debtor's malpractice claim and to compensate sp counsel
 02/23/2018    sp co advised the te that this matter was still in the discovery stage and no date has been set for the matter to go before the IN Insurance board. copies of the
               discovery were supplied to the te for his file.
 05/05/2017    Medical Malpractice Claim


Initial Projected Date Of Final Report (TFR):           12/15/2018                             Current Projected Date Of Final Report (TFR):               07/15/2019                  /s/ RICHARD E. BOSTON
                                                                                                                                                                                       RICHARD E. BOSTON
